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13
                                UNITED STATES DISTRICT COURT
14                                   DISTRICT OF NEVADA

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16    Cung Le, Nathan Quarry, Jon Fitch, Brandon Vera,       Case No.: 2:15-cv-01045-RFB-BNW
      Luis Javier Vazquez, and Kyle Kingsbury on behalf
17    of themselves and all others similarly situated,       DECLARATION OF DAVID L.
                                                             JOHNSON IN SUPPORT OF
18
                              Plaintiffs,                    ZUFFA, LLC’S MOTIONS IN
19                                                           LIMINE
                              v.
20
      Zuffa, LLC, d/b/a Ultimate Fighting Championship
21    and UFC,
22                            Defendant.
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      D. Johnson Decl. in Support of MILs                              No. 2:15-cv-1045-RFB-BNW
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1            I, David L. Johnson, declare as follows:

2            1.      I am a member in good standing of the bar of the State of Virginia and the District

3     of Columbia. I am admitted pro hac vice to practice before this Court. I am an attorney with the

4     law firm Latham & Watkins LLP, counsel for Zuffa, LLC (“Zuffa”), in the above-captioned action

5     in the U.S. District Court for the District of Nevada, Le v. Zuffa, LLC, No. 2:15-cv-01045-RFB-

6     (BNW). I make this declaration pursuant to LR 16-3(a) in support of Defendants’ Motions in

7     Limine Nos. 1-13 (“Motions”).

8            2.      On February 12, 2024, pursuant to the Court’s pre-trial schedule, Zuffa provided to

9     counsel for plaintiffs a preliminary list of motions in limine.

10           3.      On February 16, 2024, I met with counsel for plaintiffs by teleconference, along

11    with additional counsel for Zuffa, and discussed these motions in limine. Counsel for plaintiffs

12    and counsel for Zuffa then exchanged writings regarding the parties’ proposed motions in limine

13    in an effort to narrow disputes for the Court on at least February 21, 23, and 26, 2024. On February

14    27, 2024, pursuant to the pre-trial schedule, counsel for Zuffa provided counsel for plaintiffs a

15    revised list of motions in limine on February 27, 2024, and there were thereafter additional written

16    communications with counsel for plaintiffs regarding these motions.

17           4.      After thorough discussion with counsel for plaintiffs, we were unable to resolve the

18    Motions without Court action.

19           5.      Because the parties could not reach an agreement on these issues, Zuffa’s current

20    Motions are necessary.

21           6.      Certain documents attached to this Declaration have had red boxes or yellow

22    highlighting added to them. These markings are intended to indicate materials cited in the Motions

23    referenced above. The true and correct copies of materials attached to this Declaration are subject

24    to the addition of those markings. The exhibits are otherwise unmodified unless stated.

25           7.      Attached hereto as Exhibit 1 is a true and correct excerpt of the first deposition of

26    Hal J. Singer, dated September 27, 2017 in this litigation.

27           8.      Attached hereto as Exhibit 2 is a true and correct excerpt of the deposition of Jon

28    Fitch, taken on February 15, 2017 in this litigation.


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1            9.      Attached hereto as Exhibit 3 is a true and correct excerpt of the deposition of Kyle

2     Kingsbury, taken on February 17, 2017 in this litigation.

3            10.     Attached hereto as Exhibit 4 is a true and correct excerpt of the deposition of Javier

4     Vazquez, taken on February 14, 2017 in this litigation.

5            11.     Attached hereto as Exhibit 5 is a true and correct copy of excerpt of the deposition

6     of Nathan Quarry, taken on September 30, 2016 in this litigation.

7            12.     Attached hereto as Exhibit 6 is a true and correct copy of Press Release,

8     Professional Fighters League, Professional Fighters League Acquires Bellator, Creating Global

9     MMA Powerhouse dated Nov. 20, 2023, https://pflmma.com/news/professional-fighters-league-

10    acquires-bellator-in-industry-transformative-deal.

11           13.     Attached hereto as Exhibit 7 is a true and correct excerpt of the deposition of Jeremy

12    Lappen, taken on February 28, 2017 in this litigation.

13           14.     Attached hereto as Exhibit 8 is a true and correct copy of the Order Granting

14    Preliminary Injunction, Zuffa, LLC v. Couture, No. 08A555208 (Nev. Dist. Ct., Clark Cnty. Feb.

15    29, 2008).

16           15.     I declare under penalty of perjury under the laws of the United States of America

17    that the foregoing facts are true and correct. Executed this 29th day of February, 2024 in

18    Washington, D.C.

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21                                                          /s/ David L. Johnson
22                                                              David L. Johnson

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1                                     CERTIFICATE OF SERVICE

2            The undersigned hereby certifies that the foregoing Declaration of David L. Johnson In

3     Support of Zuffa, LLC’s Motions In Limine was served on February 29, 2024 via the Court’s

4     CM/ECF electronic filing system addressed to all parties on the e-service list.

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6
                                                           /s/ David L. Johnson
7                                                          David L. Johnson of
                                                           LATHAM & WATKINS LLP
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